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                         UNITED STATES DISTRICT COURT
                             Southern D istrictofFlorida
                           CaseN um ber:
                            15-81522-CV-Marra/Matthewman                            November 4, 2015
             K AREN C.YEH HO
             Plaintiff,

             V.


             W ELLS FA RG O BANK ,N .A .
             D efendant.

                                                   /


                                          COM PLA INT
            COM ES N OW ,Karen C . Yeh H o,thePlaintiff, respectfully allege as

            follows:

                                       IN TR O D U C TIO N

            1. Thisisa civilaction tiled by thePlaintiffagainstW ellsFargo B nnk,

               N .A .,theD efendant, forviolation ofLossM itigation Proceduresrelated

               totheservicing ofaresidentialm ortgageand wrongfulforeclosure as a

               result;forD efendantm isconductand tortin obtaining property using

               fraudulentdocum entsand breach ofcontractfraud.

                                JURISDICTION AND VEN lœ

            2.ThisCourthassubjectmatterjurisdiotion overthisactionbecauseitis
              broughtunderFederalConsum erFinancialProtection ActLaw 12 CFR

              j1024.41LossM itigationProcedures.



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             3.ThisCourthassubjectmatterjurisdiction overthestatue 12USC
                52605(9 relatedtotheenforcementof12 CFR j102441.   .




             4.ThisCourthassubjectmatterjurisdictionoverthestatue 12USC
               j5531(a)and 55536,18USC 51343,12 USC j5481, 15USC 51692and
               FDUTPA (FloridaDeceptiveandUnfairTradePracticesAct)         .



               Thisaction fordamagesexceedsSeveùtp FiveThousand Dollars'

               ($75,000.00)exclusiveofpre-judgmentinterest, costs,and attom ey'sfee.
            6. V enue isproperin thisD istrictastheproperty underforeclosureis

               located in Palm Beach County in the Southern DistrictofFlorida. 28U SC

               1391(a)(2).
                                   STATEM :NT O F FACTS
            7. The Defendantfiled a com plaintagainstKaren C . Yeh H o,a residenceof

               Palm Beach County to foreclose on herproperty located in Palm B each

               Cotmty in the StateofFlorida, property address:8038Tangelo Drive
                                                                                 ,


              B Oynton Beach,FL 33436,in the 15thJudicialCircuitCourtin and for

              Palm Beach County,Florida, case num ber:502012CA 002992.

            8. Plaintiffsubm itted answerto com plaintand afsrm ativedefense on June

              20,2012denying andobjectingtoa11chargesbasedonlack ofstanding
              am ongstotherdefenses.




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             9. On oraboutAugust2013, K aren received an unsolicitedpackage from

                W ellsFargoBank m aking awritten offerfora Stream lineLoan

                M odiscation.

             10.TheD efendantoffered stream line loan m odiscation withoutadditi
                                                                               onal
                paperwork required to the Plaintiffto stay in thehom ew ith thefollowi
                                                                                     ng
                conditionsa)3trialpayments,b)continuingtomakepaymentson time,
                c)signatureofthefinalmodification documents (exhibitA)
                                                              .



             11,TheD efendantaccepted the 3 trialpaym entsby thePlaintiff.
                                                                             (exhibitC)
             12.On oraboutN ovem ber2013, she received the w ritten perm anent

               streamline loan m odification package. Thepackagewascom pleted and

               sentback ontime.(exhibitB,exhibitC)
             13.TheD efendantreceived theexecuted perm anentstream line loan

               m odification package from thePlaintiffon oraboutD ecem ber6 2013.
                                                                           ,


               (exhibitC)
            14.TheDefendantaccepted 2 additionalloan m odiscation paym ents on or

               aboutD ecember2013 and January 2014. (exhi
                                                        bitC)
            15.TheDefendantrejectedFebruary2014and subsequentmonthly

               payments.(exhibitC)




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             16.TheD efendantdid notprovideKaren with awritten conûrmation and

                indication on thecompletenessofthepackagew ithin 5 businessdays

                aherthey received thepackage.
                      *3
             17.The Defendantalso did notprovide Karen awritten response on

                acceptanceorotherm odifcation optionsw ithin 30 daysaheritreceived
                                                                                i

               theperm anentstream line loan m odifcation package.

             18.TheDefendantdidnotprovideanywritten responseto therejectionof
               paym entuntilon oraboutDecem ber 17, 2014 over 1yearaftersending

               in theperm anentstream lineloan m odification package aftershe filed a

               com plaintto CFPB on oraboutDecember3, 2014.(ExhibitC).

             19.412CFR j1024.41(g)):Stoppingtheforeclosureprocessorsaleafterthe
               loan hasbeen referred to foreclosure.$$Iftheborrowersubm itsa

               complete lossm itigation application aftertheloan isputin foreclosure,

               butm ore than 37 days before a sale,the sea icerm ustnotseek a

               foreclosurejudgment,orderofsale,orconductaforeclosuresalewhile
               the application isunderreview . Sam e exceptionsasoutlined above

               apply. The servicerm ustnotrestartthe foreclosureprocessunlessoneof

               threeconditionsissatisfied:(1)borrowerhasbeen sentanoticethatheor
               she isnoteligible forany lossm itigation optionsand thisdecision cannot

               beappealed ortheborrowercan appealthedecision buthasnotrequested


                                                4

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                atimelyappealortheappealwasdenied;(2)borrowerrejectsa11options
                offeredbytheservicer;or(3)borrowerfailstoperform underloss
               m itigation agreem ent.''

             20.Thebefendantreceivedpermanentloan moditkation packageon or
               aboutDecem ber6,2013.
                                                           .                   1
            21.ThePlaintiffm ade the stream lineloan m odifcation paym enton January

                1,2014.

            22.The D efendo taccepted January 1, 2014 stream line loan m odifcation
                 î
               paym ent.

            23.TheDefendantsoughtaforeclosurejudgmentafteron orabout
               D ecem ber6,2013.

            24.TheDefendantordered the sale afteron oraboutD ecember6, 2013.

            25.TheDefendantconducted a foreclosure sale afteron oraboutDecem ber

               6,2013.

            26.TheD efendantm adepaym enton Septem ber 1, 2013.Thatism orethan

               37 daysasrequired by CFPB Stlfthe borrowersubm itsacomplete loss
                                           .




               m itigation application aftertheloan isputin foreclosure, butm orethan

               37 daysbeforeasale,theservicermustnotseek aforeclosurejudgment,
               orderofsale,orconductaforeclosuresalewhilethe application isunder

               revleW .




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             27.TheDefendantfailsto perform pnderCFPB M ortgage Servicing'
                                                                         R ules

                12CFR j 1024.41(g).
            28.ThePlaintiffm adetim ely paym entssince thetrialm odiscation

               September2013,October2013, N ovem ber2013.

            29.The Plaintiffm ade tim ely paym entssincetheperm anentloan

               m odiscation Decem ber2013, January 2014.

            30.TheDefendantrefused Plaintiffspaym entsafterJanuary 1, 2014. The

               paym entforFebruary 2014,M arch 2014, A pril2014,M ay 2014, June

               2014,July 2014,August2014, Septem ber 2014,O ctober2014,

               N ovem ber2014 perm anentloan m oditication m onthly paym entw as

               refused.

            31.ThePlaintiffdid notS'failtoperform underlossm itigation agreem ent''.



            32.TheDefendantdid notsend a noticethatPlaintiffisnoteligibleforany

               lossm itigation option.

            33.The D efendantdid notsend ($this decision cannotbe appealed. ''A fter

               December6,2013.

            34.TheDefendantdid notsend $$theborrow ercan appealthedecision but

              hasnotrequested atim ely appeal''A fterD ecem ber6,2013.
                                               .




            35.TheD efendantdidnotsend $$the appealwasdenied ''AfterDecem ber6
                                                                 .
                                                                                       ,


              2013,




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             36.TheDefendantdidnotsendPlaintiffanoticeofrejection on a1loptions
                                                                                ;

               offered by the servicerafterDecem ber6, 2013.

            37.0n oraboutM arch 14,2014,K aren filed aM otion to Dism issdueto

               Perm anentStream line loan m oditication.

            38.Shehired Harrington Law around June2014 to help with theprocessof

               making sureW ellsFargo honorthecontractoftheperm anentstreamline

               loan modiûcation.

            39.The Defendantm otioned fordefaultsled on M ay 8, 2014 and M ay 12,

               2014.

            40.TheDefendantfiled foreclosurestatusform on M ay 28, 2014.

            41.TheDefendantfiled witnessand exhibition liston June9, 2014

            42.TheDefendantfiled ordersettingresid:htialforeclosurenonjurytrialon
               June 10,2014.

            43.The Plaintiffon or aboutJuly 15, 2014 through Hàrrington Law filed

               m otion for continuance w ith com pleted stream lineperm anentloan

               m odifcation package attachm ent.

            44.TheD efendanton July 17,2014, signed theConsentJudgm entwith

               H anington Law withoutKaren'sknow ledge, consent,signatureon the

               consentjudgmentdocument.(ExhibitD )




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             45.The Defendantobtain a fraudulentConsentJudgm entforForeclosure

               withoutherknow ledge and consentand no signatureofherson the

               consentjudgment(ExhibitD )
            46.711eDefendantviolated 12 CFR 1024.41(g)- theDefendantissupposed

               todo everythingthey can topreventforeclosurejudgmentand
               foreclosuresalesdate.

            47.TheDefendantcontinuing to promise Plaintiffthatthey need 45 daysfor

               the executivesto sign paperwork and to befiled in thepublicrecordsto

               completethe perm anentstreamline loan modifcation  .
                    '
                ,


            48.TheDefendantafterobtaining fraudulentconsentjudgmentthenobtained
               theFinalJudgm entofForeclosureon July 17, 2014 withoutKaren's

               knowledge,consent,and signature.

            49.The Plaintifffiled on oraboutN ovem ber 10, 2014,M otion to cancel

               foreclosuresale date dueto perm anentstream lineloan m odifcation.

            50,AttheNovem ber 12,2014'shearing to cancelthe sale date, the

               D efendantagain denied therewasaperm anentloan m odifcation when it

               wasfiled on theJuly 15,2014'smotion forcontinuance     .




            51.TheD efendantobtained Courtorderdenying themotion to cancelthe

               Grstandonly foreclosuresaledateduetoDefendant'sobjectionto cancel
               the foreclosuresale date.




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             52.TheD efendantobtained sale dateon N ovember 14, 2014.

             53.TheDefendantsold thehouse at8038 Tangelo Drive, B oynton Beach,

                FL 33436 for$250,100 on November14, 2014 at 10 am .
             54.TheD efendantinform ed thePlaintiffthatshedoesnotown the house on

                N ovem ber 14,2014.

             55.ThePlaintiffon oraboutNovember 14, 2014 sl
                                                         ed anObjection tothe
                sale and vacate theFinalJudgm entdue to fràud.

             56.0 n or aboutJanuary 16,2015, theCourtdeniedtheObjectionto t
                                                                          hesale
               and Vacate theFinalJudgmentdueto Fraud and orderissueofCertiscate

               to Title.

            57.Thethirdparty obtained Certificate ofTitle on January 30, 2015.$

            58.ThePlaintiffcould havekeptherhouse at8038 Tangelo Drive Boynton
                                                                           ,


               B each,FL 33436 ifthe D efendantdid notforeclose on the house while

               shehonorsthe stream lineloan m odifcation .



            59.The Defendantnegated on the stream line loan m odification contractand

               violated CFPB M ortgage Servicing Rules, 12 CFR 1024.41 ofSistopping

               the foreclosureprocessorsale afterthe loan hasbeen referred to

               foreclosure.''

            60.ThePlaintiffsuffersmorethan $362,000 lossofhermoney thatshe
               invested on the property, opportunity costofrentalincome and thefees



                                               9

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                  and costto defend the foreclosureduetoDefendant'sviolation ofFederal

                  Law 12CFR 1024.41(g).(ExhibitE)
               61.ThePlaintiffsuffersmorethan $362,000 lossofhermoney thatqhe
                  invested on theproperty and the feesand costto defend theforeclosure

                 duetoDefendant'sillegalactivitiesofusing consentjudgmentwithout
                 Plaintifrsknow ledge and signature (ExhibitE)
                                                     .




               62.The Plaintiffsuffersm orethan $362,000 lossofherm oney thatshe
                 invested on the property and the feesand costto defend the foreclosure

                 due to D efendant'sm isconductto breach theperm anehtstream lineloan

                 m odiication contractby refusing Plaintiffsm onthly streamline

                 perm anentloan m odification paym ent. (Exhi
                                                            bitE)
              63.TheDefendant'sadditionalof$96,000 to theprincipalofthe loan asthe
                 term forthe stream line loan m odiscation is an extortion preying on

                 Plaintiffseagernessto keep herhouse (exhibitC )
                                                         .




              64.TheD efendantincreaseofhom eowner'sm onthly paym entby m orethan

                 $500 perm onth astheterm forstream lineloan m odifcation isan

                 extortion preying on Plaintiff'seagernessto keep herhouse.
                                                                              (exhibitC )
              65.TheDefendantincreaseofhomeowner'smonthly paym entby morethan

                 $500 permonth astheterm forstreamline loan m odifcation doesnot

                 com ply with the governmentfunded loan m odifcation program s   .




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               66.-111eD efendantwrongfully forecloseson thehouse, obtaining pro
                                                                                   perty
                                                                                   ,


                 using fraudulentconsentjudgmentand falsepromiseinviolationof
                 com m on tortlaw .

                COU NT I- W OLATION OF LOSS M ITIG ATIO N PRO CEDU RES



              67.The allegationsin paragraphs 1through 66 above are inco
                                                                        rporated herein
                 by reference.

              68.plaintiffenforcesthe provisionsof 12 CFR 51024 41,Loss M itigation
                                                                    ,



                 Procedures,pursuantto 12 U .S.
                                              C.j2605(9,(ExhibitF & G)
                     (b)(2)(B) Notify the borrower irl Nvritirléj AhéitlAirl 5 days
                    (excluding legalpublic holidays,Saturdays, and Sundays)after
                   receiving         the loss      m itigation     application that
                   the serviceracknowledges receipt of the loss m itigation
                   application and that theservicerhas determ ined that the loss
                   m itigation application iseithercompleteorincomplete. Ifa loss
                   mitigation application is incom plete, the notice shallstatethe
                   additional docum ents and information the borrow er must
                   submitto m akethelossmitigation application completeand the
                   applicabledate pursuantto paragraph (b)(2)(ii)ofthissection
                   The notice to the borrower shall include a statem entth     .
                   b                                                      at the
                    orrower should consider contacting servicers of any other
                   m ortgage loans secured by the same property to discuss
                   availablelossm itigation options.
                   (c)Evaluationoflossmitigationapplications.(1)Completeloss
                   m itigation application.lf aservicerreceives a com plete loss
                   mitigation application m ore than 37 days before a foreclosure
                   sale, then, within 30 days of receiving a borrower's
                   com pletelossm itigation application, a servicershall:
                   (i)Evaluate the borrower for all loss mitigation options
                   availableto theborrower;and                                 '


                                                 11

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                     (ii)Provide the borrower with a notice in writing stating
                    the servicer'sdeterm ination ofwhich lossm itigation options if
                    any,it w ill offer to the borrow er on behalf of the owner,or
                    assignee ofthem ortgageloan.

                    (g)Prohibition on foreclosure sale.lf a borrower submits a
                    complete loss m itigation application after aservicerhas m ade
                    the flrstnotice or filinj required by applicable 1aw for any
                    judicialor non-judicialforeclosure process butmore than 37
                    days before a foreclosure sale, a servicershall not m ove for
                    foreclosurejudgmentororderofsale,orconductaforeclosure
                    sale

              69.TheDefendantviolationson 12CFR 51024 41 is laid outin Figure 1
                                                                      .



                 below


                  PennanentLoan M odification W as ln Place &
                       C om plaints Should B e Ilisrnissed
                                                                                      12 C.F.R.1024.41
                   OD Ea:stream lineLoan                                  (b)(2)(B)Notl   fytlx YrrowerInwrl  tlngwlthln5days
                                                                          (et
                                                                          afxecrlr
                                                                                 udl
                                                                                  ecngkg
                                                                                    eklœatlhpubl
                                                                                               icholljays,Saturdays,andSundays)
                   Modifkation offered,no                                                   eIossmltlgatlonappllmtlY tl'et
                     paperworkrequired,                                   theseryteracknowtdge.srecelptoft%'bssmltlgatlon
                                                                          appteztlonandthattte :ervkerhasAtenmlneöt% t
                   on oraboutAugust20l3                                   theIossmltlgatlonapplkatbnlseltherœmpkteor
                                                                          lncomp+te,
                                                                          (c)Evnlœ tlonoftssm/t/ X e ?l
                                            w ellsFargo12CFR              app
                                                                          s   ltat
                                                                           ervk erl
                                                                                  oy.  (1)Qlmpgteklssmltlqatktnepp/a tfon.lf;
                                                                                  recelv
                      ACCEN ANCE:           1024.41violations:                          e.saœmplez lossmltlgatlon
                                                                          Bpplutùon nxrettVn 37%ysteforea foreqtsuresale
                    PLM N I'
                           IFF Received     -Didnotnotl'
                                                       fyborrower         then?wlthln 30daysofreœklnga O rrower'sœmple? p
                                                                          los
                                                                          (I)sEv
                                                                               mltlgatlonapplHatbnpservl œrsl
                                                                                                            vll:
                   COMPLETED Permanent      Perparapaph(b),(c)for               alœte tl-e Y rrowe.rf
                                                                          ayalbb:totheborr
                                                                                                    oraIIbssmltlgaœ nnptlorl
                                                                                                  ower;and
                  Loan Modifkationpackage   allegedloanmoditkation        (
                                                                          th11
                                                                             e)P
                                                                               ser
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                                                                                 vkdeer's
                                                                                 f      thdeeb
                                                                                             teorrml
                                                                                                  r
                                                                                                  owerwlth;notiœ I
                                                                                                                 nwrltlngstatlrK.i
                    onorabout12/4/2013:     Papenvorkissue.                                   natlonofwhlch br mltlgatbn
                                                                          ogtlorstlfary,ltwilloffertothe borroweronbeMlfof
                      PermanentLoan         -practiceddualtracking        the owrerorasslgneeofthe rnoroage G n.
                   M odifkationcompleted    foreclosurepm hibi
                                                             ted by       (q)Prohibly nonforecbsuresale.Ifabœrowersubrnsl
                                                                          a compbteIossmltlgatlonapplo tlonafterase-lœrhas
                                            paragraph(g)               rnatletheflrstnotteorflllngrequireuW applkable1aw
                                                                       foranyjudlcàlornon-judklalforeclosœeprpœruqbtlt
                                                                       mcethan37daysbefœeaforelosuresale, a
                                                                       s
                    Complaintshould be                                  ervtershal  lrptrrovef orforelœurejum r  rentororder
                                                                       ofrs
                                                                       Qe  at
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                    dismiqsed December                                      n-
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                            2013                                       pa ra
                                                                           gmp   h(c) (1)(
                                                                                         II
                                                                                          )of thi
                                                                                                s Actbn tMt t he borrowerIs
                                                                       notelMibleforanylossmltlgatlonopoonard theapœal
                                                                      prœessInpragraph(h)ofthlssectlonIsnotaxllcabk
                                                                      t
                                                                      ahpepl
                                                                           e mowerl'k'ssnotreque.std anap- lwlthlnt.l-      ,
                                                                      borrkabk tlr  re œrlodforregueltjng Anappea1,oret%
                                                                           ower' sapmalhasA nden+ditzl-      rhet rrr- er
                                                                      reject,salIbssml   tbatbncptlorsoffezedW tl' eservlœr;
                                                                      ort3l-  rheborrpwerfall stomrr or
                                                                                                      rnurtleranagreement
                                                                      ona lossmltigatlonoptlon,



                                                    #IGURE 1


                                                           12
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               7o.D efendantrefusesto honorthewritten perm anentstream lineloan
                 '


                     m odiscation contract:com pleted with an offer, acceptance,and the
                                                                                     :


                     m eeting ofthem inds.

               71.The Defendantfailed to providewritten notice on receiving the

                     penmanentstream line loan m odification within 5 daysofreceiving the

                     perm anentstream line loan m odifcation package.

               72.The Defendantfailed to providewritten notice on some alleged issues

                     related to perm anentstream line loan m odifcation package within 30

                     daysofreceiving theperm anentstreamline loan m odiscation package      .



              73.TheDeftndantdidnothonorCtNoforeclosuresaleoftheprojertywas
                     scheduled w ithin 37 daysaftertheD efendantreceived theperm anent

                     stream lineloan m odification package ''
                                                            ,




              74.TheDefendantviolates12 CFR j1024.41(b)failingtoprovidewritten
                 notification to acknowledgereceiving and on completenessoftheloss

                 m itigation docum ents.

              75.TheDefendantviolates12 CFR j1024.41(c)failing toprovidewritten
                 notifcation on evaluation ofthe lossm itigation docum ents   .



              76.TheDefendantdid nothonorTheNationalM ortgage Settlem entsection

                 1V.B.4:12CFR j1024.41(g),isrrheforeclosureprocessmaynotmove
                 forward afterreferralto aforeclosureattorney ifthe servicerreceivesa



                                                       13
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                 com plete loan m odification application within 30 daysafterthe letter

                 from theforeclosureattorney.The servicerm ustnotseek aforeclosure

                 judgment,courtorderofsale,orforeclosuresaledatewhiletheloan
                 m odiscation application isunderconsideration. N ote thatonly theinitial

                 letter(sentwithin 5businessdaysofreferral)from theforeclosure
                 attorney w illgive borrow ers 30 daysto subm ita com plete loan

                 m odification application.''

              77.The D efendantfailed to com ply w ith itsN ationalM ortgage Settlem ent

                 consentjubgmentsectionIV.F toacknowledgereceivingandon
                 com pletenessofthe
                                 :
                                    loss m itigation döcum ents,

              78.The D efendantfailed to com ply w ith its N ationalM ortgage Settlem ent

                 consentjudgmentsectionIV.A toproyidewrittennotifcationon
                 evaluation ofthelossm itigation docum ents  .




              79.TheDefendantfiled m ultipledispositivemotionsforthe foreclosure of

                 thepropertyincludingbutnotlimitedto defaultjudgment,filingof
                 docum entsin preparation offoreclosuretrialand setting offoreclosure

                 trial.

              80.TheDefendantfiledthefraudulentconsentjudgmentthatiswithout
                Defendant'sknowledge,consent, and signatureon July 17,2014.




                                                   14

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              81.TheDefendantusedthefraudulentconsentjudgmentto obtain final
                 judgmentfrom the 15thcircuitcourton July 17, 2014.
              82.The Defendantfailed to discloseto the 15thJudicialCircuitCoud the

                 stream lineperm anentloan m odification and m isled the courtto deny

                 motion foroontinuancetopreventtinaljudgmentand foreclosuresale,
              83.111eDefendantviolates12 CFR 1024.41(g)prohibitingdualtracking
                 foreclosurewhilea stream lineperm anentstreamline loan modification is

                 in place.

              84.TheDefendantfailed to com ply with section IV .B ofitsN ational

                 M ortgageSettlementconsentjudgmentto stop dualtrackingforeclosure
                 practice.

              8s.plaintifflostherproperty and m oney investm entsasaresult Plaintiffis
                                                                            .




                 entitled to recoverm oney invested into theproperty caused by

                 Defendant'sviolation.Plaintiffisentitled to recoverlegalcostand fee

                 caused by D efendant'sviolation.

              86.plaintiffisentitled to Dam ages-12 U .S.C. 52605(9   RESPA entitles
                 borrowersto aprivate rightofaction based on violation ofthe Act   .




                 Damagesforindividualsinclude:(1)Any actualdamagestotheborrower
                 astheresultofthefailure.(2)Any additionaldamages,asthecourtmay




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                  allow,in thecase ofapractice orpattem ofnoncompliance an am ount
                                                                           ,


                  up to $2,000 foreach such violation .




                           COUYT II-FRAUD IN THE INDUCEM ENT
               87.The allegationsin paragraphs 1tltrough 66 above areincorporatedherein

                 by reference.

               88.Defendantengaged in thetortofdeceit.

               8g.Defendantrepresented to Plaintiffin writingthatPlaintiffwasapproved

                 fora strenm linepermanentloan m odifcation. (exhibitA,exhibitB)

              go.Defendantrepresented to Plaintiffin writing thatafteralltrialperiod

                 paym entsaretim ely m ade,D efendantw ouldperm anently m odify

                 Plaintiffm ortgage.

              gl.Defendant,by and through itsagents, em ployees and representatives
                                                                                   ,

                 m ade falsestatementsregarding am aterialfact.

              gz.Defendantknew orshould haveknown therepresentation w asfalse.

              g3.D efendanthad no reasonableground fortheserepresentationsto betnle

                 when in fact,theserepresentation werefalse.




              g4.Defendantintended thatthe representation inducePlaintiffsto acton it.

              gs.plaintiffsuffereddamagesinjustifablerelianceon therepresentation      .




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              g6.plaintifflostherproperty and money investm entsasaresult. Plaintiffis

                 entitled to recoverdam age caused by Defendant'sviolation Plaintiffis
                                                                            .




                 entitled to recoverlegalcostand fee caused by Defendant'sviolation.

                      COUNT III- FRAUDULENT M ISREPRESENTATION
              97.The allegationsin paragraphs 1through 66 aboveare incop orated herein

                 by reference.

              g8.Defendantengaged in the tortofdeceit.

              gg.Defendantrepresented to Plaintiffthatthe Plaintiffisapproved fora

                 streamlinepermanentloan m odification  .




              100. Defendantrepresented to Plaintiffthataftera11trialperiod paym ents

                 aretim ely m ade,D efendantw ould perm anently m odify Plaintiff

                 m ortgage.

              101. D efendant,by and through itsagents, em ployeesand representatives,

                m ade a falsestatem entregarding amaterialfact.

              102. Defendantm ade false statem entsregarding am aterialfact.

              103. D efendantknew orshould haveknown therepresentation w asfalse.

              104. Defendantintended thattherepresentation inducePlaintiffto acton it    .



              105. Plaintiffsuffered dam agesacting in reliance on therepresentation.




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              106. Plaintifflostherproperty and m oney investm entsasa result. Plaintiff

                 isentitled to recoverdam age caused by Defendgnt'sviolation.   Pkaimiff
                 isentitled to recoverlegalcostand fee caused by Defendant'sviolation.

                  C OUNT IV - FLORID A DECEPTIVE AND UNFAIR TR ADE

                                   PR ACTICES ACT (FDU TPA)

              107. The allegationjin paragraphs 1tluough 66 aboveare incorporated

                 herein by reference.

              108. Ata11tim esrelevanthereyo,D efendantwasengaged in çstrade or

                 commerce''asdetinedby j501.203(8),Fla.Stat.
              109. A violation oftheFDUTPA maybebasedonSslalnylaw,statùte,rule,
                 regulation,orordinance which proscribesunfairm ethodsofcompetition,

                 orunfair,deceptive,orunconscionable actsorpractices.'' See

                 j501.202(3)(c),Fla.Stat,
              110. TheprovisionsofFDUTPA 5501.202 (1)AND (2),aretobe
                 profusely understood to promotethe follow ing polices:

                    (1)To simplify,clarify,and modernizethe law governing consumer
                    protection, unfair m ethods of oompetition and unconscionable,
                    deceptive,and unfairtrade practices.

                    (2) To protect the consuming public and legitimate business
                    enterprises from those who engage in unfairmethodsofcom petition,
                    orunconscionable,deceptive,orunfairactsorpracticesin theconduct
                    ofany tradeorcomm erce.




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                    Defendanthasviolated FDUTPA asm ore particularly described

                 above.

              112. Defendantviolated FDUTPA by engaging in unfairand deceptiveacts

                 and practicesincluding,butnotlim ited to, failing to honorthe

                 Agreem entwith Plaintiffto havea pennanentloan, collecting additional

                 highermonthly paymentsofover$500, use erroneouselevated balance
                 am ountintended to false claim againstgovirnm entinsurance, or

                 otherwisefeign compliancewiththeFederalhomeloan modiscaiion
                 Program .

              113. D efendant'sactsandpracticesasdescribed herein constitute

                 unlawful,fraudulent,and unfairbusinessactsand practices,
                                                                            inthat(a)the
                justiscation forDefendant'sconductisoutweighedbythegravityofthe
                 consequencestoPlaintiffs;and/or(b)Defendant'sconductisimmoral,
                unethical,oppressive,unscrupulous, unconscionable,orsubstantially

                injurioustoPlaintiff;and/or(c)theuniform conductofDefendanthasa
                tendency to deceive Plaintiff.

              114. D efendantfalsely represented thattheirtrialm odifcation plan and

                m odiication proposalscould preventforeclosure and falsely represented

                thatborrowerisapproved and would be granted forloan m odiscations

                w ithoutpaperwork required and solely through thesubm ission ofthetrial



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                 plan paym ents;additionally fraudulentbecausethewritten

                 representationsintended tom islead thePlaintiffintobelieving thatthey
                                                                                 /

                 could obtain an opportunity to retain theirhom es;and unfairbecauseit

                 offendslegislativepolicy with regard to theuseoffraudulent, deceptive,

                 m isleading,unfairand unconscionablem eansin thecollection ofdebts      .
                                                                                 ;


              115. In pm icular,D efendanthas falsely, deceptively,m isleadingly,

                 unfairly,and/orunconscionableadvertised to consum ersorothem ise

                 induced consum ers,including Plaintiff,to m akepaym entsthatD efendant

                 could nototherw isehave collected and which would nototherwisehave

                been collectible,by pretending to offertrialand perm anentloan

                m odifcation program s,w ithoutany good faith intention to m ddify the

                loan.

              116. Defendanthasfalsely,deceptively,m isleadingly, unfairly,and/or

                unconscionably advertised orotherwise indnced consum ersto m ake

                paym entspursuantto a perm anentstream line loan m odification by

                falsely,deceptively,ormisleadingly representing thatapermanent

                m odifcation is approved and granted.

              117. The unfairand deceptiveactsand practicesofD efendanthave

                directly,foreseeably,and proximately caused orwillcausedam agesand

                injurytoPlaintiff.


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              118. Theactionsand failuresto actofDefendant, and the abovedescribed

                 course offraudulentconductand fraudulentconcealm ent, constituteacts,

                 uses,oremploym entby Defendantofunconscionable comm ercial

                 practices,deception,fraud,falsepretenses, misrepresentation,andthe
                                                                           i
                 knowing concealm ent,suppression orom ission ofm aterialfactswith the
                                                                               j
                 intentthatothersrely upon such concealm ent, suppression,orom ission

                 ofm aterialfactsin connection with thesaleand or/leasing of

                 m erchandise ofDefendantin violation ofthe consum erprotection

                 statuteslisted above.

              119. Plaintiffhassuffered injuryinfactandhaslostmoneyorpropeo asa
                resultofthe conductdescribed herein. Plaintiffwasinduced by

                Defendant'sunlawful,fraudulent, and unfairconductto m akepaym ents

                to D efendantstotaling thousandsofdollarswhich they would nothave

                m ade.

              120. A sa directresultofD efendant'sunfair and deceptive actions and

                practices,Plaintiffhas been dam aged.

              121. By reason ofthe foregoing,Defendantisrequired to makerestitution

                and disgorgethe moniesthey haveunlawfully obtained through their

                unlawful,fraudulent,and unfairpractices.




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               122. Defendantisobligated topay(a)actualdamagesto beprovedattrial;
                 (b)punitivedamages;and(c)attom eys'feesandcourtcost      .



              123. Plaintifflostherproperty and money investm entsas>result. Plaintiff
                                                                               $
                 isentitledto recoverdnm agecaused by Defendant'sviolation. Plaintiff

                 isentitled to recoverlegalcostand fee caused by Defendant'sviolation.

               COUNT V -W ELLS FARG IX S W RON GFUL FORECLO SURE IS A
                                                -




                                          TORTIOUS ACT

              124. The allegationsin paragraphs 1through 66 above areincop orated

                 herein by reference.

              125. TheDefendant'swrongfulforeclosuredueto Defendant'sm isconduct

                 and violation islaid outin Figure2 below .




                                                    22

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                       FinalJudgm entD ue To Plaintiff s
                       V iolation in Law s & M isconduct
                                                           Plaintifrfraudulently
                   Perm anent            Breach ùf        deniedPerm anentLoan
                LoanM odifkation          Contrac          M odifk ationpayment

                                         onpact                  va.-.:..,         consentJudo ent
                                        Fraud                    -u
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                                                                    au
                                                                     b'J
                                                                       '           Wcor
                                                                                     ithse
                                                                                        ount
                                                                                          tD efendant's
                                                                                           /ratitu ation
                                                                    Fraud on
                                                                    theCourt
                              CFPB V1o ' -        Fi
                              NoDualTracking       nalJudgment                Pl
                                                                                alti/fraudulently denied
                                                                      Fraudon permanentLoanModification
                                                                     theCourt          inplace
                                                     Fraud on
                  CaseClosed                         theCourt
               ComplaintDismissed                                       Plaintiffpreventhg Defendant
                                                                           topartici
                                                                                   pate i
                                                                                        n causeby
                                                                       notallowingDefendanttospeak
                                                                             infrontoftheJudge


                                                     FIG U R E 2

              126. On oraboutJuly 17,2014,D efendahtobtained Foreclosure Judgm ent.

                     On oraboutN ovem ber 14,2014,Defendantobtained Foreclosure

                 sale.

              128. On oraboutJanuary 31,2015,Defendantobtained CertifcateofTitle                           .




              129. Defendanthascomm itted breach ofcontractfraud by refusing to

                 acceptthepaym entofthe permanentloan m odification.

              130. Defendanthasfiledafraudulentconsentjudgmenttomislead the
                 courtand causethe foreclosure oftheproperty.




                                                         23
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               131. Defendanttiled thefraudulentconsentjudgmentwithoutobtaining
                 Plaintiffsassent.

               132. DefendantwasawareofconsentjudgmentwithoutPlaintiffs
                 knowledge,consent,andsignatureasthePlaintiffhadmotionedtoobject
                 totheconsentjudgmentwithoutherknowledge,consent,orsignature   .




               133. Defendantfailed tostriketheconsentjudgm entandvacatethe
                 foreclosurejudgmentwith theknowledgeoftheinvalid consent
                 '
                 Judgment.

              134.   Defendantfailedtoattemptto striketheconsentjudgmentand attempt
                 tovacatethejudgm entwith theknowledgeoftheinvàlidconsent
                 '
                 Judgm ent.

              135. Defendantobtainedproperty with fraudulentconsentjudgment
                 violating 18USC 51343 -Fraudby wire,radio,ortelevision.



              136. Defendantw asawareoftheperm anentstreamlineloan m odifcation

                 thatwasin place since Septem ber1, 2013,

              137. Defendantfailedtopreventtheforeclosurejudgm entorthe
                 foreclosuresalein pursuantto 12 CFR j1024.41(g).
              138. Defendantfailedto attempttopreventtheforeclosurejudgmentorthe
                 foreclosuresalein pursuantto 12CFR j1024.41(g).




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               139. Atallrelevanttim es,D efendant,w asfully aware ofthe contracm al

                 relationship betw een Plaintiffand Defendantsetforth bytheperm anent

                 stream lineloan m odiscation docum ent.

               140. Asadirectand proxim ateresultoftortiousact,Plaintiffhassustained

                 dam agesoflosingherhouse.

                    Plaintifflostherproperty and m oney investm entsasaresult. Plaintiff

                 isentitled to recoverdam age caused by Defendant'sviolation. Plaintiff

                 isentitled to recoverlegalcostand fee caused by Defendant'sviolation.

                 TheTortuousactalso entitlesthePlaintiffforpunitive dam ages.

                 COUNT VI- W R ONG FUL FORECLO SURE DUE TO LA CK O F

                                            STA N D IN G

              142. The purported copy oftheNote in the com plaintfortheforeclosure

                 suitdoes notshow assignm entto the alleged ow ner, FederalN ational

                 M ortgage A ssociation orthe alleged servicer,W ellsFargo Bnnk.

                    W ellsFargo Bank lacksdocum entsto show itsrightto enforcethe

                 N ote,although thecomplaintstatesthattheBank Ssistheholderofthe

                 note.''

              144. TheNote wasto theoriginallender,M ortgageProfessionals, lnc.The

                 alleged Allonge appearsnotaffixed to theN ote, although thereis

                 sufficientblank space forassignm enton the originalNote TheAllonge
                                                                        .




                                                 25

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                 notaffxed to the instrum entcannotbe used forvalid assignm ent'
                                                                               .




                 j673.2041(1)(1995)Fla.Stat.
              145. Therearetw o indorsem entson theA llonge and none ofthem are

                 dated. Thefirstisby ChristopherGrey with thepowerofattom ey from

                 M ortgage Professionals,lnq.pay to Am trustBank and the second isa

                 blank indorsem entby Christopher Grey from Am trustB ank.

              146. N o pow erofattorney from M ortgageProfessionalsw asavailableto

                 show the authority ofthe signeroftheassignm ent.

              147. The purported m odgage in the com plaintofthe foreclosure suitonly

                 establishesthatM ERS isthem ortgagee solely asanom inee ofthe

                 Lender and the Lenderis M ortgage Professionals, lnc. There isno

                 assignmentofm ortgageto eitherFederalNationalM ortgageA ssociation

                 orW ells Fargo B ank to com plete the chain oftitle ofthe m ortgage.

              148. Defendanthasinsufticieptevidencein the form oforiginalNote and

                 M ortgagew ith properassignm ents,acceleration letter, and paym ent

                 history to prove standing and bring theforeclosure lawsuitforward.

                 702.015 Fla.Stat.

              149. TheDefendantlack ofstandingto foreclosetheproperty and therefore

                 resorttocollusion and signedconsentjudgmentwithouiPlaintiffs
                 knowledge,consent,and signature.



                                                   26

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              150. Plaintifflostherproperty and m oney investm entsasaresult. Plaintiff

                 isentitled torecoverdam age caused by Defendant'sbaselesslawsuit.

                 Plaintiffisentitled to recoverlegalcostand fee.

               COU NT VII -VIOLATJONS 9 F THE CO UNSUM ER FINAN CIAL

               PRO TECTION A CT OF 2010 12 USC 5481 ET SEO .(CFPA)W ITH

                                RESPECT TO LOXN SERVICING
                    Theallegationsin paragraphs 1through 66 above are incorporated

                 herein by reference.

              152. Theloan servicing conductoftheServicresasdescribed above,

                 constitutesunfairand deceptive acts orpractices in violation ofsections

                 1031(a)and 1036oftheCFPA,12USC jj5531(a)and j55536.
                                                                                  5
              153. Plaintifflostherproperty andm oney investm entsasaresult Plaintiff
                                                                              .



                 isentitled to recoverdam agecaused by Defendant'sviolation. Plaintiff

                 isentitled to recoverlegalcostand feecaused by D efendant'sviolation.

               COUNT V1II- W O LA TIONS OF TH E COVNSU M ER FINANCG L

               PR OTECTION ACT O F 2010 12 USC 5481 ET SEO .(CFPA)W ITH

                         RESPECT TO FO RECLOSURE PR O CESSIN G

              154. The allegationsin paragraphs1tllrough 66 aboveareincorporated

                herein by reference.




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              155. The foreclosureprocessing conductofthe Servicersasdescribed
                                                                               J


                 above,constitutes unfairand deceptive actsorpractioes in violation of

                 sections1031(a)and 1036oftheCFPA,12USC jj5531(a)andjj5536.
              156. Plaintifflostherproperty andm oney investm entsasaresult.Plaintiff

                 isentitled to recoverdam agecaused by D efendant'sviolation.Plaintiff

                 isentitled to recoverlegalcostand feecaused by D efendant'sviolation.

               COUNT IX -VIOLATIONSOFFEDERV TW DE COMMIiSION:
                FAIR DEBT COLLEC TJON PR ACTICE ACT (FD CPAJ15 U.S.C .

                                        * 1692 (EXH IBIT G)
                                                 -




              157. The allegationsin paragraphs 1through 66 above areincom orated

                 herein by reference.

              158. Ata11tim esrelevanthereto,DefendantisaDEBT COLLECTOR
                                                               '
                                                               .




                 under 15 U SC 1692a.

              159. DefendanthasviolatedFDCPA j807 (15USC j1692e).
              160. DefendanthasviolatedFDCPA 5807 g15USC jl692e1(6)(A).
              161. DefendanthasviolatedFDCPA 5807 (15USC j1692e)(8).
              162. DefendanthasviolatedFDCPA j807 g15USC j1692e)(9).
              163. DefendanthasviolatedFDCPA 5807 g15USC jl692e)(10).
              164. DefendanthasviolatedFDCPA 5807 (15USC j1692e)(11).
              165. DefendanthasviolatedFDCPA 5807 g15USC j1692e1(12).


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               166. DefendanthasviolatedFDCPA 5807 (15USC j1692e)(13).

               167. DefendanthasviolatedFDCPA j807 (15USC j1692eq(14)            .



               168. DefendanthasviolatedFDCPA 5808E15USC j1692f1(1)          .



               169. DefendanthasviolatedFDCPA 5808(15USC j1692f142)          .




               170. DefendanthasviolatedFDCPA 5808 (15USC j1692Q(6)(A)               .



              171. DefendanthasviolatedFDCPA j809 (15USC j1692gq(a)(1)               .



              172. DefendanthasviolàtedFDCPA j809 (15USC j1692gj(a)(2)               .



              173. DefendanthasviolatedFDCPA j809 g15USC jl692gq(a)(3)               .



              174. DefendanthasviolasedFDCPA 5809 E15USC j1692g1(a)(4)               .
                             '
                         ,

              175. DefendanthasviolatedFDCPA j809 (15USC j1692gq(a)(5)               .



              176. DefendanthasviolatedFDC/A j809 (15USC j1692gq(b)          .




              177. DefendanthasviolytedFDCPA j809 (15USC j1692gj(c)
                                      '
                                                                             .
                                      .



              178. DefendanthasviolatedFDCPA j810 (15USC j1692hq     .




              179. DefendanthasviolatedFDCPA j812 (15USC j1692j)(a)      .



              180. DefendanthasviolatedFDCPA 5812 (15USC j1692j1(b)      .



              181. DefendantisliabletoPlaintiffin pursuanttoFDCPA 5813 (15USC
                 j1692kj(a)(1).
              182. Defendantisliableto PlaintiffinpursuanttoFDCPA j813 (15USC
                j1692kj(a)(2)(A).




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              183. DefendantisliabletoPlaintiffin pursuanttoFDCPA 5813(15USC
                 j1692k)(a)(3).
              184. DefendantisliabletoPlaintiffinpttrsuanttoFDCPA 5813 (15USC
                 j1692k)(b)(1).
              185. Plaintifflostherproperty and m oney investm entsasaresult. Plaintiff

                 is entitled to recover dnm age caused by D efendant's violation. Plaintiff

                 isentitled to recoverlegalcostand fee caused by D efendant'sviolation.

                     COUNT X - INFLICTION OF EM OTIONAL DISTRESS

              186. The allegationsin paragraphs 1through 66 above areincorporated

                herein by reference.

              187. D efendantim properly serviced Plaintiff'sloansand gaudulently

                m ishandled the lossm itigation proceduresby negatipg avalid loan

                m odiscation contractand failm eto provideinform ation aboutthe status

                ofthemodification andabruptlyrejected thepaymentofthelöan causing
                emotionaldistressand anxiety;defendant'sm isconductin court

                proceeding to preventPlaintiffto participate in hercause and sled

                fraudulentconsentjudgmentwithoutherknowledge,consentand
                signaturecausesanger,seriousem otionaldistress, and irreparableharm

                on m entalhealth ofthePlaintiff.




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              188. D efendantsacted intentionally,recklessly,knowingly,and/or

                negligently in causing Plaintiffs'em otionaldistress,orD efendantsknew

                orshould haveknow n thattheiractionsw ould resultin Plaintiffs

                suffering seriousem otionaldistress.

              189. D efendants'conductw as extrem e and outrageous.

              190. Asa directand proxim ateresultofD efendants'intentional,reckless

                and/or negligentinfliction of em otionaldistressPlaintiffshave suffered

                severehllm iliation,distress,depression and anxiety.The lossoftheir

                fnancialw ell-being,monetary dam ages,furtherharm totheircredit,and

                thethreatened lossoftheirhom esarethe sourcesofseriousem otional

                distress.

              191. Asaresult,D efendantsare liableto Plaintiffsforactualand ptm itive

                dnm ages.



                   W HEREFORE,PlaintiffrequeststhatthisCourtrenderjudgmenton
             Plaintiff sbehalfasfollows:

                    a. Awardactualdamagesin an amountof$362,000 (ExhibitE)and
                      punitivedam age;

                   b. A n orderrequiring Defendantsto disgorgeand m akerestitution of

                      m oniesunlawfully obtained from Plaintiff;


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                     c.AnorderenjoiningDefendants9om continuingtheirfalse,
                        deceptive,m isleading, tmfairand unconscionablepractices;

                     d. D irectD efendantsto pay the costofthisproceeding asappropriat
                                                                                     e;
                     e. An orderawarding Plaintiffssuch otherand f'urtherrelief
                                                                                 ,


                       includingadditionalequitablerelie: asthisCourtmay deem just
                       and proper.

                                      JURY TRIAL D EM AND

              Plaintiffdemandsatrialbyjury ofa11issuesso triableasofright See.



              Om egav.D eutsche Bank TrustCo., 920F.Supp.2d 1298(S.
                                                                  D.Fla.2013).

              Signedthis          Y dayofS;z.
                                            -;i.c                ,   2015.



              K ar    .Y eh H o   Pro Se

              1230 Gulfstream W ay,

              R iviera Beach,FL 33404




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                                E xhibit A
                 T rialM odin cation O ffer:M ake 3 trial
                 P aym ents to m odify your m ortgage...




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                                                                                        Case#
                                                                                        Karen.Yeh Ho
                                                                                  ..    V. .    .




                                                                                                                                                                         4
                                                                                   '
                                                                                   , '
                                                                                     w ells Fargo Bank, N .A.
                                          'Exhibi'
                                                 t h , PageI :                                                ..   .. -.. .
                                              W   W  i J'                                   .
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                 JASON FILIPIAK
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                            LOAN M ODW ICATION AGREEM ENT OIORTGAGE)
                                                   (ProvidlngforFIXED InterestRxte)
                        ThisLoanModitkationAgreementCAgeemenf'l,madethis 25TH day of NOVEM BEK 2013,
                 betweenKAREN YEH HO AND WING KElHG m FEAND HUSBAND CBorrowep'lwhoieaddressis
                 8:38 TANGELO DK BOYNTON BEACR FLORIDA 33436 and W ELLS FARGO BANK, N.A.
                 ftendeFl,whose address is 3476 STATEW EW BLVD.MAC# X7:B1e3K,FORT O LL,SC 29715,
                 amendsand supplements(1)theMortgage,Deed ofTrustorSecurity Deed t*eçesecurity InsMlmeno ,and
                 TimelyPaymentRewfdsRider,ifaay,dated NOVEM BER 3% 2087andrecordedonDECEM BER 6,2907
                 in INSTRUM ENT NO.2(,()7054:973 BOOK 22301 M GE 1321,ofthe OFFICIAI.RecordsofPALM
                 BEACH COUNTK FLORIDA,and(2)theNotebe ngthesamedgteas,andsecuredby,theSecurity
                 Insm lment which covers tbe realand personalproperty descrlbed in the SecuHty lns- lmentand defmed
                 thereinasthe Rproperty'',located at

                                       8838TANGELO Dh BOYNTON BEACH.171,011111A33436
                                                            (PropertyAddress)

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                                             W ellsFargo Bnnk,N.A.
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                 th reaiprcpeo describedkeingsetforthasfollows:
                 L0T 91,OF KNOLLW OOD M .DUACCORDING TO THE PLAT THEREOF,ASRECORDED IN
                 PLAT BOOK 1874
                 AT PAGEIS)55THROUGH 58,OFTHE PUBLIC RECORDSOF PALM BEACH COUNR
                 FLORIDA
                 TAX/PARCEL NO.0842451322000891:

                         In consideration ofthe mutualpromises and aleements exchanged,the parties hereto agree as
                 follows(notwitlue 4inganythingto thecontm xntainedinth NoteorStcuritylnstrmxent):
                     Asot DECEM BER 1,2813,tlw amountpayable underthe Note and the Security Instntment(the
                     '4unpaid PrincipalBalance'')isU.S.&373,354.51,consistingoftheunpaid amountls)loanedtoBorrower
                     byLenderplusanyinterotandotheramountscapitalized.

                 2. BoaowerpromisestopAytheUnlaidPrinclpalBalance,plusinteresttotheorderofLender.lnterestwill
                     be charged on the Unpaid Princlpalatthe yearly cate of4.0:06% from DECEXBER 1,2013,and
                     Borrowerpromisesto pay monlly paymentsofprinclpaland interex in the amountofU.S.$1:8338
                     begime gon the 1ST day ofJANUARY,2B14. Bonmwerwillcontinuetomakemoe ly paymeatqon
                     uw samedayofeachsuccezdingmoni untilprincipalandinterestarepaidin1 11.lfBorrowerstillowes
                     amolmtstmdertheNoteandthe SecurityInstrument asamended bythisAveement Borrowerwillpay
                     theseamoune in fullontheAlnêxdtyDate..Thenew M nhlrltyDatewillbeDECEM BER 1,2053.
                  Mono      Jntertwx     lnterœ Rm       Monly           Monily          Total      Payment     Number
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                         notananleslpersonandabenescialInterestinBorrowerissoldortmnsfe= d)withcutLender'sprior
                           written conxent Lendermayrequire immediatepaymentin fullûf21sumssetured bythe Secul
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                           lnstnlment.
                           IfLenderexerciso tilisoption,LendershallgiveBorowernoticeofaccelemuon.n enoticeshall
                           provideaperiodofnotlessth= 30daysâom tlw datetlw lotictisddiveredormailtdwithinwhich
                           Borrowermustray21sumssecuredbytheSecurityIno lment.IfBorrowerfailstopaythesesums
                           prior to the expiratioq oftbispedod,Lendermay invoke any remedies permitted by ie Security
                           InstrumentwithoutfurtilernoticeordemandonBorrowtr.



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                                          Case #
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                                          W ellsFargoBnnk,N.A .              .

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                     2. I
                        Borroweralso willcomply with allolhercovenants, w eemena,and requirementsofthe Security
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                        oftaxes,instlesmce premiums,asstssmtnts,vscrow hems,bmpounds,and aliotherpaymenl that
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                             TimelyPaymentRewedsAddendum toNote                                                    e
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                             i plirnhle,orotilerlnstntmentordocumtnttilatîsAFmed to. wholly orpu iily l
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                              nz, or is part of the Note or Sdcuril lnstnlment and thatcontqlns any such te= s and
                             provlsionsaqthosereferredtoin(a)above.
                         Borrowertl
                                  ndersx dsandagreesthat:
                         (a) A1Ithe rights and remedles,stlpnlations,and condîtionscontained ln the Securi? Instrument
                             raiatingtodefaultinthemakin!ofpaymentsundertheSecuzitylns%mentshallalsoapplyto
                             defaultintl
                                       zemakingofthemodlfedpaymeno hereunder.
                         (b) A1lcovenants,agreements,stipulations,andcenditlonsin theNoteand SecurityIns- entshall
                             beand remain m
                                          ' fullfcmeand efeeq axceptasherein mudiGed, and noneofthe Boaower's
                             obligadonsorliabilidestmdert1. Noœ and Securil Instrnmentshallbedfminilhed orreleast.
                                                                                                                 d
                             b
                             Lyany provisioM hered norshallthisAgreementinany way impair, diminish,ûrG ectanyof
                              ender'sriphe underorrtmediesonthtNnteand Security Ins-lmentv whethersuehligh? or
                             remedîesans'ethereunderorbyoperationoflaw. Also,a11rightsofrecourseto wbich Lenderis
                             presentlyentitledagainstanypropertyoranyothrrpersonsinanywayobligatedfor, orliableon,
                             tlleNoteandSecurityIns% mentareexpresslyreserved byLender.
                         (c) Nothing in tlli;Agreementshallbe understood orconsA ed to be a satisfacuon orrelease in
                             wholeorinpartoftheNoteandSecuril Ins% ment.
                         (d) A1l costs and expenses incurred by Lender in cocnection with this Agreement including
                             recording fees.title exam inatioe,and attorney'sfees, sballbepaid by tlw Boxowerandsimllbt
                             securedbytheSecurt lnst= nentunlessstipulatedoierwisebyLender.
                         (e) Borroweragreesto make and executesuch ctherdocumenl orpaqersasmay be necesso or
                             requiredtoe/ecmatethetermsandconditionsûfthisAgreementwMch, ifapprovedandaccepted
                             by Lender, shall bind and lnure to the heirs, exncutors, adminis% tors,and assigns ofthe
                             Borrower.

                         (9 Ifincluded,the undersignedBorrowerts)aca owledgesreceiptandacceptanceoftheNoticeof
                             SpecialFloodHxw rddisdosure.


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                        (g) Ifthesecurityproperty isaninvesa entpropertyor2-4Qnilprlncipalresidencm Borrowerhereby
                             absolutely'and uneonditionally assignsand e nqfem toLendera1lleasesoftlw Property and alI
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                             shallhavetlw righttomodiN,extendorterminatetheexistmgkuesandtoexecutenew leases,
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                             th:Securitylns% mentisonaleuehcldestate.
                             Borowerhereby absolutely and uncondidonally assignsacdtx sferstoLendera11therentland
                             revenuesC'
                                      Rents'loftheProperty,regedles:oftowbom ieRentsoftileFropertyarepayable.
                             Borrowerauthorîzes Lender orLender'sagenB to collectthe Rents,and w ees thateach tenant
                             oftheProperty shallpay the RentstoLendtrorLender'sagents.However,Borrowershall
                             receive the Rents until(l)Lenderhasgiven Borrewernoticeofdefaultunderthi:Agreement
                             pursuanttoSection22 oftheSecurityInstrtlmtntvand(li)Lenderhasgivennoticetothetenantts)
                             thattlleRent
                                        saretobepaidtoLenderorLender'sajentn isassiametltofRtntsconstimtesan
                             absolutecsignmentandnotanassknmentforaddltlonalsecuril only.
                             IfLendergivesnotkeofdefaulttoBorrower:(i)a11Rene receivedbyDorrowershallbeheldby
                             Bo= weras trustee forthe benestofLenderonly,to be applied to the sumssecured by the
                             Securi? Instrumeati(ii)Lendershallbe eptitledto collectand receive a11oftlle Rentsofthe
                             Property;(iii)Borrowera#eesthateachteliantofthePropertyshallpaya11Renl dueandunpaid
                             toLenderorLendkr'sagentsuponLender'xwritten demand to thetenanq(iv)unlessapplicable
                             law providesotherwise,allRentscollected byLenderorLender'sagen? shallb:appliedsrstto
                             thecosl oftakingcontrolof=4manjgingthePmperl andcollecun!theRents,'
                                                                                               mcluding,but
                             not limhed to, attomey's fees, receiver's fees,premiums on recewer's bonds, repair and
                             maintenance costs.însllmnce premitlms,> es,assessmentsand otherchargtson thePropeo ,
                             andthentothesumssqcured bytheSeturitylnstnlmenq (v)Lender,Lender'sagenù orany
                             judlciallyappointedrtceivershallb.liabletoaccountforonlythùseRentsactuallyreceived;and
                             (vl)Lendershallbe entitled t:haveareceiverappeinted total
                             .                                                        d possosionofandmanagethe
                             Property and collecïth:Renl andprofitsdeuved hom th.Property withoutany showing asto
                             theinadequacyofthePropeo asstcurity.
                             IftheRentsofthePopertyaa notsuë denttocoverthecostsoftakingcontrolofandmanaging
                             theProperty apd ofcollectingtheRenl any fundsexpended by Lenderforsuch purposesshall
                             become indebtednessofBorrowerto Lendersecured by the Security Instt
                                                                                               umentp= uantto
                             Section9oftheSecuril Instrument
                              Borrowerrepresen? and warrantsthatBorrowerhas notexecuted any priorassignmdntofthe
                              Rentsand has notperfcrmei and willnotpedbrm,any ac4thatwould prevtatLender&om
                                 exercisingitsrightsunderthi:po graph.
                                 Lender,orLeàder'sagenl orajudkiallyappointedreeeiver,shallnotberequiredtoenterupon,
                                 take conkolofcrmaint
                                                    ain thePropeo before oraâergiving noticeofdehultto Borrower.
                                 However,Lender,orLender'sagtntsorajudicialiy appointed receiver,may do so atany time
                                 when adefaultcccurs.AnyapplicationofRentsshallnotcureorwaiveanydefaultorinvalidate
                                 any otherril torremedy ofLender.This%sigmnentofRentsoftheProperty shallterminate
                                 whenallthesumssecuredbytheSecurityIns% mentartpaidinRll.
                      4. Pursuantto Sectltm 199.145(4)(b)4Florida Statutes,additionxlnonrecurring inungible tax is
                          due.ThlsM artgage isgiven In eonnecdon with therefinanclngofan obugation setured by an

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                         repruentw a: ofthe refmaneinp tll. exce: ofth. unpald prindpalballnee of tNe orisnal
                         obligatiom plu: atcrued but unpaid intereat Notwithstanding anything to the contrary
                         conu ined in the foregoing,if the ebllgor under the new obllgxtloa is notliable to the ebligee
                         under the obligadon secured by thisM ortglge,then tlle addiuonalnonrecurring intangible tax
                         shallbecom putedontheendreprindpalbah nc.ofthenew ebligatiom




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                                             Karen Yeh Ho
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                                            Exhibit.ô       page1-
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              W ells Fargo H om e M ortgage has rqtained the services
             ofFirstAmerican TitleServicesand theirnetworkof
             #ofJq Publiè' sforthepurposeoffurtherproviding
             excellentserviceandcareforourcustomers.W Notary
              w illcontactyou shortly to setup an appointm entto
              m eetw ith you.Thisprocess willassistyou in having
             yourmod6 cation documentscorrectly Jjgnc;
              notarize4 and returned to WellsFargo Home M ortgage
              in a timelyfashion in orderto completeyourrequest.
             PleasetakeadvaniageofthisFM S servicetoyou.
             P lease be advised,F irstAm erican Title Services has no
              informatiqn concerningyourloanmod6cation norwill
              they be able to answerany questions concerning the
              mod6cation.They arenota collection Jgençy andare
              in no wJy attempting to collecton any debtyou m ay
              h&W . F/iey are m erely delivering the docum ents,
             providing ak eeAoflry serviceand then returning the
             documentsto usforyou.Thedocumentsenclosed are
             going to explain thetermsofyourmod6cation,
              including yournew paym entam ountandyour next
             paymentduedate.F/lefedocumentsareforyour
             information only.TheNo/lry willbring additional
             documentsforyou to rcvfew andsign.



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           Case 9:15-cv-81522-KAM Document 1 Entered on FLSD Docket 11/04/2015 Page 56 of 82




                               E xhibit C
               R esponse to lnquiry on D ecem ber 3,2014
                R egarding A ccount N um ber 027917161




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           Case 9:15-cv-81522-KAM Document 1 Entered on FLSD Docket 11/04/2015
                                                                          WellsFargoPage 57 of 82
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            December17,Iol4
                                                                   W ellsFargo Bartk,N .A.
                                                                   Exhibit C         Page l
            Karen Yeh Ho
            8038 Tangelo Drive
            Bom ton BeaG ,FL 33436
            Subject:             Responsetotheinquiry received on Decembero3, 2014,regarding account
                                 num ber0257917161
            DearM rs.Karen Yeh Ho:
            Thank youfortheopporhmitytoaddressyourconcern. W e'vecazeqllly considered whatwecan
            do and areprovidingourrespimse.                                     '
            In yourinquirs the follow ing item sw ere addressed:
                    Clarï cation on workoutrevitw acdvity
                    Foreclosure process
                  . Rescind foreclosure
            Please5nd ourresponsestotheconcernsraised in yourinquiry ade essed below .
            ClarG cation on w orkoutred ew activity
            W e'retlzeservicerofyouraccount.M theseM cer,wecollectpaym ents, payescrow itemssuc.
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            astu esandinsurance,answerquestionsandprovideyayoffinformation,workout
            opporttm ities,hom epreservation,aswellasotherduteson behalfoftheinvestoroverthelifeof
            your account,

            W ellsFargoBank,N.A.istheserdcerofyouraccountforowner/assigneeFannieMae.A contact
            addressfortheowner/assigneeis:
                      FannieM ae
                      3900 W isconsin Avenue N W
                      W ashiïgton,DC 20016
            W einitiated areview forworkoutoptionsonJuly 18,20:3.0n July19,2013,wewereableto
            approveyou forat. 1-1a1paymentplan,tobegin on Septembero1,ao13.Thel'
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            undertlleplan wasreceived on October3o,2013.
            Upon successfulcom pledon ofthetrialpaym entplan,am oe cadon agreem entwasapprovei
            On November26,2013,wesenttlleoriginalpadcetm 'th thetermsofthemodï cadon toFirst
            Am erican Notaryandacopy ofthemodifcaào  'n packettoyou.
            Theorigfnalmocv cationpacketwassenttotieriotarywhowastocontactyoutosetupaTime
            to sign themofii6cation docllments.Theloan m odifcadon copy senttoyourattention included
            instructionsthata notaryw ould bein contactwit.
                                                          h you to sign the originalm odifcation
            docum ents.


            WeltsFargoHomeMoagagelxadlvlslonofWellsFargoBank N.A NMLSBID39980:

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            Case 9:15-cv-81522-KAM Document 1 Ca
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           Yeh Ho                             Karen Yeh Ho
           December17,2014                    V.            .
           Page2                                       .

                                                    w ellsFargo Bank,N,A .
                                                    Exlèibit d.       Page. -..
                                                                              3
           From November27,2013,through Decembero6,2013,weattempted to contactyouvia
           telephoneto seeifyou hadbeen contactedby FizstAm erlcan Notaryserdceto establish a;m e
           tosign them ods6cation docum ents.
           On Decembero6,2013,wereceived thesigned agreem entfrom you.However,upon review of
           thesigned èseem ent,wefound thatW ingKeiHodidnotsign andtheagreem entwasstam ped
           S'copy''.Asa resuk,thesigned agreem entwasnotaccepted.
           From Decembero9,2013,through December31,2013,weattemptedm uldpletim estocontact
           you viatelephonetoinform you thatthefollowingitem swereneededto com pletetheloan
           modl cadon:

              @ W ereceivedaQuitClaim Deedbutalsoneededaivorcedecree
              * Signed redrafted modl
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              . You.rm aritalstam s

           W e'reunableto completeam odificafonforyottraccotmtasyou didnotrem rntheoriginal
           signed m ocv cation docum en'
                                       ts.M arestllt,youraccountwasrem oved from thisreview on
           January 13,2014.
           A new review forworkoutoptionswasinitiatedforyouragc6urlton M arcî ï7,zoî4.Toreview
           youraccountforpossiblew orkoutopdons such asa repam entplan,m odilcadon,shortsale,or
           adeed in lieu offoreclosm e,weneed todetermineyourabilitytorepaytheaccotmt.To
           determ ineyourabilitytopay,weneedto receiveyourmostcurrentfnancialinformadon.W e're
           unabletocom pletethereview ifwearemissingdocum entadon,sowem ayrequestupdated
           fnancialinform adon.
           W e'reunabletocom pletethisreview asyou did notprovideuswitlaupdatedsnandal
           inform ation.hsa result,youraccountwasrem oved from consideration on M ay 21,2014.
           Anotherreview foravailableworkoutopdonswasinitiatedforyouraccountonAugusto7,2014.
           However,we'reunabletocom pletethisreview aswedidn'treceivearesponsefrom you.Asa
           result,theaccountwasrem oved fzom review on September16,2014.
           Foreclosure process
           W einidatedforedosureacdon on theaccounton Decembero6,2011,atwhic,  h ;m eyou.
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           accotmtwasduefori eAugustzollthrough December'     zollpayments.ThetermsoftheNote
           and M oltgageoutlinethecond tionsunderwhich wecanacceleratethecollecdon ofthedebt.hs
           theseconditionswerem et,ou.rforeclosureacion isvalid- '
           Theforeclosurewasjudicial;assuch,therewasnowaytoexpeditetheforeclosureprocess.The
           judgehastogranta11modonpandconflrm thesale.




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           Case 9:15-cv-81522-KAM Document 1                  Casc# on FLSD Docket 11/04/2015 Page 59 of 82
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            Page3                                             W ellsF
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            lnyom correspondence,you expressconcernsabout''robo-signing''
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            Goingforward
           Ifyouhaveany questonsabouttheinform aion in thislett
           800-853-8516, extension 45484.1am availableto assistyouer,
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           LisaUllerich
           ExecudveM oltgageSpecialist
           Custom erCareazld RecoveryGroup
           Cc.          Consum erFinancialProtecdon Bureau
                        Casenumber:141125-001469




           EX003/FLY/c01227153/ge3034060/c1936




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           Case 9:15-cv-81522-KAM Document 1 Entered on FLSD Docket 11/04/2015 Page 60 of 82




                                 E xhibit D
                F raudulentC onsent Judgm ent W ithout
                    P laintiff's C onsent or Signature




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           Case 9:15-cv-81522-KAM Document 1 Entered on FLSD Docket 11/04/2015 Page 61 of 82




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61 of 82          Exhibit D                                                       Page1/#
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                                        E xhibit F
                     12 CFR j1024.41 LossM itigation
                                        P rocedure




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           Case 9:15-cv-81522-KAM Document 1 Entered on FLSD Docket 11/04/2015 Page 69 of 82




                                        E xhibit G
               12 USC j2605(9 D am agesand Costsfor
                  L oss M itigation Procedure V iolation




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           Case 9:15-cv-81522-KAM Document 1 Entered on FLSD Docket 11/04/2015 Page 70 of 82



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              Damages-12U.S.C.j2605(9
                     R ESPA entitles borrow ers to a private rightofaction based on
              violationsoftheA ct.

                    D am ages for individuals include:
                    1) Any actualdam agestotheborrowerastheresultofthe,failure        .
                    2) Any additionaldam ages,asthecourtmay allow,in thecaseof
                       a practice or pattern ofnoncom pliance,an am ount up to
                       $2,000 foreach such violation.




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                                        E xhibit H
                            FD CPA 15 U.S.C.bb1692




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       Fair D ebtC o llectio n Practices A ct

      Fair D ebt C ollectio n P ractices A ct

      A s am ended by Public Law 104-208,110 Stat.3009 (Sept.30,
      1996)
      To amend the Consum erCreditProtection Actto prohibitabusive practices by debtcollectors.

      Be itenacted by the Senate and House ofRepresentatives ofthe United States ofAm erica in Congress
      assembled,Thatthe ConsumerCreditProtectionAct(15 U.S.C.1601etseq.)isamended by adding atthe end
      thereofthe following new title:

      TITLE VIII-DEBT COLLECTION PRACTICES IFairDebtCollection Practices Act)
      Sec.
      801. ShortTitle
      802. Congressionalfindings and declaration ofpurpose
      803. Definitions
      804. Acquisi tion ofIocation inform ation
      805. Comm unication in connection with debtcollection
      806. Harassm entorabuse
      807. False orm isleading representations
      808. Unfairpractice
      809. Validation ofdebts
      810. Multiple debts
      811. Legalactions by debtcollectors
      812. Furnishing cedain deceptive forms
      813. CivilIiability
      814. Adm inistrative enforcement
      815. Reports to Congress by the Com m ission
      816. Relation to State Iaws
      817. Exem ption forState regulation
      818. Effective date


      j 801. ShortTitle (15 USC 1601 note)
      This title m ay be cited as the ''FairDebtCollection Practices Act.'

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           Case 9:15-cv-81522-KAM Document 1 Entered on FLSD Docket 11/04/2015 Page 73 of 82
      ï 802. Congressionalfindings and declarations ofpurpose
      I15 USC 1692)
      (a)There is abundantevidence ofthe use ofabusi
                                                   ve,deceptive,and unfairdebtcollection practices by many
      debtcollectors.Abusive debtcollection practices contribute to the num berofpersonalbankruptcies, to marital
      instability,tothe Ioss ofjobs,and to invasions ofindividualprivacy.
      (b)ExistingIawsandproceduresforredressingtheseinjuriesareinadequatetoprotectconsomers.
      (c)Means otherthan misrepresentationorotherabusive debtcollection practices are available forthe effecti
                                                                                                             ve
      collection ofdebts.

      (d)Abusivedebtcollectionpracticesarecarriedontoasubstantialextentininterstatecommerceandthrough
      m eans and instrum entalities ofsuch com m erce.Even where abusive debtcollection practices are purely
      intrastate in character,they nevertheless directly affectinterstate com merce.

      (e)ltisthe purpose ofthistitle to eliminate abusive debtcollection practices bydebtcollectors,to insure that
      those debtcollectors who refrain from using abusive debtcollection practices are notcom petitively
      disadvantaged,and to promote consistentState action to protectconsumers againstdebtcollection abuses.


      ï 803. Definitions I15 USC 1692a)
     As used in this ti
                      tle -

      (1)Theterm ''Commission''means the FederalTrade Commission.
     (2)The term ''communication'
                                'meanstheconveying ofinformation regarding a debtdirectly orindirectly to any
     person through any m edium .

     (3)The term ''consumer''meansany naturalpersonobligated orallegedly obligatedto pay any debt.
     (4)The term ''creditor''means any person whooffers orextends creditcreating a debtorto whom a debtis
     owed,butsuch term does notinclude any person to the extentthathe receives an assignmentortransferofa
     debtin defaultsolely forthe purpose offacilitating collection ofsuch debtforanother.

     (5)The term ''debt''means any obligation oralleged obligationofa consumerto pay money arising outofa
     transaction inwhichthe money,property,insuranceorservices which arethe subjectofthe transaction are
     primarily forpersonal,fam ily,orhousehold purposes, whetherornotsuch obligation has been reduced to
     judgment.
     (6)Theterm 'debtcollector'means any personwho usesany instrumentality ofinterstate commerce orthe
     mails in any business the principalpurpose ofwhich is the collection ofany debts, orwho regularly collects or
     attem pts to collect,directly orindirectly,debts owed ordue orasserted to be owed ordue another.
     Notwithstanding the exclusion provided by clause (F)ofthe lastsentence ofthis paragraph,theterm includes
     any creditorwho,in the process ofcollecting his own debts, uses any nam e otherthan his own which would
     indicate thata third person is collecting orattem pting to collectsuch debts. Forthe purposeofsection808(6),
     such term also includes any person who uses any instrum entality ofinterstate com m erce orthe m ails in any
     business the principalpurpose ofwhich is the enforcem entofsecurity interests. The term does notinclude -

     (A)anyofficeroremployee ofa creditorwhile,in the name ofthe creditor,collecting debtsforsuch creditor;
     (B)any personwhile acting as adebtcollectorforanotherperson,bothofwhom are related by common
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      ownership oraffiliated by corporate control, ifthe person acting as a debtcollectordoes so only forpersons to
      whom itis so related oraffiliated and ifthe principalbusiness ofsuch person is notthe collection ofdebt
                                                                                                            s;
      (C)any officeroremployee ofthe United StatesoranyStatetothe extentthatcollecting orattempting tocollect
      any debtis in the perform ance ofhis officialduties;

      (D)anypersonwhileservingorattemptingtoserveIegalprocessonanyotherpersoninconnectionwiththe
      judicialenforcementofany debt;
      (E)any nonprofitorganizationwhich,atthe requestofconsumers, perform s bona fide consum'ercredit
      counseling and assists consum ers in the liquidation oftheirdebts by receiving paym ents from such consum ers
      and distributing such am ounts to creditors'
                                                 , and


     (F)anyperson collecting orattemptingto collectanydebtowed ordue orassededto be owed ordue anotherto
     the extentsuch activity (i)is incidentalto a bonafidefiduciary obligationora bona fide escrow arrangement'
                                                                                                              ,(ii)
     concerns adebtwhich wasoriginated by suchperson;(iii)concerns a debtwhichwas notindefaultatthetime it
     was obtained by suchperson;or(iv)concernsa debtobtained by such personas a secured pady in a
     com m ercialcredi
                     ttransaction involving the creditor.

     (7)Theterm ''Iocationinformation''means a consumer'
                                                       s place ofabode and his telephone numberatsuchplace,
     orhis place ofem ployment.

     (8)The term ''State'
                        'means any State,terri
                                             tory,orpossession ofthe United States, the DistrictofColum bia,the
     Com monwealth ofPuerto Rico, orany politicalsubdivision ofany ofthe foregoing,


     j 804.Acquisition ofIocation inform ation I15 USC 1692b)
     Any debtcollectorcom m unicating wi
                                       th any person otherthan the consum erforthe purpose ofacquiring Iocation
     inform ation aboutthe consumershall-

     (1)identifyhimself,statethatheisconfirmingorcorrecting I
                                                            ocationinformationconcerningtheconsumer, and,
     only ifexpressly requested,identify his em ployer,'

     (2)notstatethatsuch consumerowes anydebt;
    (3)notcommunicate with any such person more thanonce unlessrequested todo so by such personorunless
    the debtcollectorreasonably believes thatthe earlierresponse ofsuch person is erroneous orincomplete and
    thatsuch person now has correctorcom plete Iocation information'
                                                                   ,


    (4)notcommunicate by postcard;
    (5)notuseanyIanguageorsymbolonanyenvelopeorinthecontentsofanycommunicationeffectedbythe
    mails ortelegram thatindicates thatthe debtcollectoris in the debtcollection business orthatthe
    com m unication relates to the collection ofa debt;and

    (6)afterthe debtcollectorknows the consumeris represented by an attorneywith regard to the subjectdebtand
   has knowledge of,orcan readily ascedain, such attorney'  s nam e and address, notcom m unicate with any
   peo on otherthan thatattorney,unless the attorney fails to respond within a reasonable period oftim e to the
   com munication from the debtcollector.


   j 805. Com m unication in connection w ith debtcollection I15
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      USC 1692c1
      (a)COMMUNICATION W ITH THE CONSUMER GENERALLY W ithoutthe priorconsentofthe consumergiven
                                                                   .

      directlytothe debtcollectorortheexpress permission ofacourtofcompetentjurisdiction, a debtcollectormay
      notcomm unicate with a consum erin connection with the collection ofany debt-

      (1)atanyunusualtimeorplaceoratimeorplaceknownorwhichshouldbe knowntobeinconvenienttothe
      consumer.ln the absence ofknowledge ofcircum stances to the contrary, a debtcollectorshallassume thatthe
      convenienttim e forcom m unicating with a consumeris after8 o'clock antimeridian and before 9 o'clock
      postm eidian,localtime atthe consum er's location'
                                                       ,


      (2)ifthe debtcollectorknowsthe consumeris represented byan attorney with respectto such debtand has
     knowledge of,orcan readily ascertain, such attorney'  s name and address, unless the attorney fails to respond
     within a reasonable period oftim e to a com m unication from the debtcollectororunless the attorney consents to
     directcom m unication with the consum er,'or

     (3)attheconsumer'
                     s placeofemploymentifthedebtcollectorknows orhas reason to know thatthe consume/s
     employerprohibits the consum erfrom receiving such com m unication.

     (b)COMMUNICATION WITH THIRD PARTIES.Exceptasprovidedinsection804, withoutthe priorconsentof
     the consum ergiven directly to the debtcollector, orthe express permissi
                                                                            on ofa courtofcompetentjurisdiction,
     orasreasonably necessary to effectuate a postjudgmentjudicialremedy,a debtcollectormay not
     com m unicate,in connection with the collection ofany debt, with any person otherthan a consum er his attorney,
                                                                                                        ,
     a consumerreporting agency ifotherwise perm itted by law , the creditor,the attorney ofthe creditor, orthe
     attom ey ofthe debtcollector.

     (c)CEASING COMMUNICATION. lfa consumernotifies adebtcollectorinwritingthatthe consumerrefusesto
     pay a debtorthatthe consum erwishes the debtcollectorto cease fudhercom munication with the consum er,
     the debtcollectorshallnotcom municate furtherwith the consum erwith respectto such debt, except-

     (1)to advise the consumerthatthe debtcollector'sfudhereffods are being terminated'
                                                                                      ,


     (2)to notify the consumerthatthedebtcollectororcredi
                                                        tormay invoke speci
                                                                          fied remedies whichare ordinarily
    invoked by such debtcollectororcreditor'
                                           , or


    (3)whereapplicable,to notify the consumerthatthedebtcollectororcredi
                                                                       torintends to invokea specified
    remedy.

    Ifsuch notice from the consum eris m ade by m ail, notification shallbe com plete upon receipt.

    (d)Forthe purpose ofthis section,the term 'consumer''includes the consumer'
                                                                              s spouse, parent(ifthe
    consumeris a minorlvguardian,executor,oradministrator.

    j 806. Harassm entorabuse (15 USC 1692d)
   A debtcollectormay notengage in any conductthe naturalconsequence ofwhich is to harass,
                                                                                                    oppress,or
   abuse any person in connection with the collection ofa debt. W ithoutlim iting the generalapplication ofthe
   foregoing,the following conductis a violation ofthis section:

   (1)Theuseorthreatofuseofvi
                            olenceorothercriminalmeanstoharm thephysicalperson, reputation,or
   property ofany person.

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      (2)The useofobscene orprofane Ianguage orIanguage the naturalconsequence ofwhich is to abuse the hearer
      orreader.

      (3)Thepublication ofa Iistofconsumerswho allegedly refuse to paydebts,exceptto a consumerrepoding
      agency orto persons meeting the requirements ofsection 603(f)or604(3)1 ofthis Act.
      (4)Theadvedisementforsaleofanydebttocoerce paymentofthedebt.
      (5)Causing atelephoneto ring orengaging any person intelephone conversation repeatedly orcontinuously with
      intentto annoy,abuse,orharass any person atthe called num ber.                           '




      (6)Exceptas provided in section 804,the placementoftelephone calls wi
                                                                          thoutmeaningfuldisclosure ofthe
     callefs identity.


     j 807. False orm isleading representations I15 USC 1692e)
     A debtcollectormay notuse any false, deceptive,orm isleading representation ormeans in connection with the
     collection ofany debt.W ithoutIim iting the generalapplication ofthe foregoing, the following conductis a
     violation ofthis section:

     (1)Thefalse representation orimplicationthatthe debtcollectoris vouched for,bonded by,oraffiliated with the
     Uni
       ted States orany State,including the use ofany badge, uniform ,orfacsim ile thereof.

     (2)The false representationof-
     (A)the character,amount,orlegalstatus ofany debt;or
     (B)anyservicesrenderedorcompensationwhichmaybeIawfullyreceivedbyanydebtcollectorforthe
     collection ofa debt.

     (3)Thefalse representation orimplicationthatany individualis anattorney orthatany communication is from an
     attom ey.

     (4)The representation orimplicationthatnonpaymentofany debtwillresultinthearrestorimprisonmentofany
     person orthe seizure,garnishment,attachment,orsale ofany property orwages ofany person unless such
     action is Iawfuland the debtcollectororcreditorintends to take such action.

     (5)Thethreattotakeany actionthatcannotlegally betakenorthatisnotintendedtobetaken.
     (6)The false representationorimplicationthata sale,referral,orothertransferofany interestin a debtshall
     cause the consum erto -

     (A)Iose any claim ordefense to paymentofthe debt;or
     (B)becomesubjecttoanypracticeprohibi
                                        tedbythistitle.
     (7)Thefalse representation orimplicationthatthe consumercommittedany crime orotherconductin orderto
    disgrace the consum er.

     (8)Communicating orthreatening to communicate to any person creditinformationwhich is knownorwhich
    should be known to be false,including the failure to com municate thata disputed debtis disputed.

    (9)The use ordistribution ofany writtencommunication which simulates oris falsely represented to be a
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      documentauthorized,issued,orapproved by any coud, official,oragency ofthe United States orany State, or
      which creates a false im pression as to its source, authorization,orapproval.

      (10)Theuse ofany false representation ordeceptive meansto collectorattemptto collectany debtorto obtain
      information concerning a consum er.

      (11)The failure to disclose in the initialwritten communicationwiththe consumerand,in addition,ifthe initial
      com munication with the consum eris oral,in thatinitialoralcom m unication, thatthe debtcollectoris attem pting
      to collecta debtand thatany information obtained willbe used forthatpurpose, and the failure to disclose in
      subsequentcom m unications thatthe com m unication is from a debtcollector, exceptthatthis paragraph shall
      notapply to a form alpleading m ade in connection with a Iegalaction.

      (12)Thefalserepresentationorimplicationthataccountshavebeenturnedovertoinnocentpurchasersfor
     value.

      (13)Thefalse representation orimplication thatdocuments are legalprocess.
     (14)The useofany business,company,ororganization name otherthan the true name ofthe debtcollector'
                                                                                                      s
      business,company,ororganization.

     (15)ThefalserepresentationorimplicationthatdocumentsarenotIegalprocessformsordonotrequireaction
     by the consumer.

     (16)Thefalse representation orimplicationthata debtcollectoroperates oris employed by a consumerreporting
     agencyas defined by section 603(f)ofthis Act.

     j 808. Unfairpractices E15 USC 1692:
     A debtcollectorm ay notuse unfairorunconscionable means to collectorattem ptto collect'      any debt. W ithout
     Iimiting the generalapplication ofthe foregoing,the following conductis a violation ofthis section:

     (1)The collection ofany amount(including any interest,fee,charge,orexpense incidentaltothe principal
     obligation)unless such amountis expressly authorized by theagreementcreating the debtorpermitted by Iaw.
     (2)Theacceptance by a debtcollectorfrom any person ofa check orotherpaymentinstrumentpostdated by
     more than five days unless such person is notified in writing ofthe debtcollectofs intentto depositsuch check
     orinstrum entnotm ore than ten norIess than three business days priorto such deposit.

     (3)The solicitation by adebtcollectorofany postdated check orotherpostdated paymentinstrumentforthe
     purpose ofthreatening orinstituting crim inalprosecution.

     (4)Depositing orthreatening to depositany postdated check orotherpostdated paymentinstrumentpriortothe
     date on such check orinstrument.

     (5)Causingchargesto bemadetoanypersonforcommunications byconcealmentofthetruepurposeofthe
     com m unication.Such charges include,butare notIim ited to, collecttelephone calls and telegram fees.

     (6)Taking orthreatening to take any nonjudicialactionto effectdispossession ordisablemeritofproperty if-
     (A)there isnopresentrighttopossessionofthepropedyclaimedascollateralthroughanenforceablesecurity
     interest'
             ,

     (B)there is no presentintentionto take possessionofthe property'
                                                                    ,or
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      (C)the propedy is exemptby law from such dispossessionordisablement.
      (7)Communicating with a consumerregarding a debtby postcard.
      (8)Using any languageorsymbol,otherthan the debtcollector'
                                                               s address,onany envelopewhencommunicating
      with a consum erby use ofthe m ails orby telegram , exceptthata debtcollectormay use his business name if
      such name does notindicate thathe is in the debtcollection business.


      j 809. Validation ofdebts I15 USC 1692g)
      (a)W i
           thinfivedays afterthe initialcommunicationwith a consumerin connection withthe collectionofany debt,
     a debtcollectorshall,unless the following information is contained in the initialcom m unication orthe consum er
     has paid the debt,send the consum era written notice containing -

     (1)the amountofthe debt;
     (2)the nameofthe creditortowhom the debtis owed;
     (3)a statementthatunlesstheconsumer,within thidy days afterreceiptofthe notice,disputes thevalidityof
     the debt,orany portion thereof,the debtwillbe assum ed to be valid by the debtcollector,'

     (4)a statementthatifthe consumernotifiesthe debtcollectorinwri   tingwithinthe thirty-day periodthatthe debt,
     orany podion thereof,isdisputed,the debtcollectorwillobtain verification ofthe debtora copy ofajudgment
     againstthe consumerand a copy ofsuch verification orjudgmentwillbe mailed to the consumerby thedebt
     collector'
              ,and

     (5)a statementthat,uponthe consumer'swrittenrequestwithinthe thidy-day period,the debtcollectorwill
     provide the consum erwith the name and address ofthe originalcredi
                                                                      tor, ifdifferentfrom the currentcreditor.

     (b)Iftheconsumernotifiesthedebtcollectorin wri
                                                  tingwithinthe thidy-day period described in subsection (a)
     thatthe debt,orany portion thereof,is disputed, orthatthe consum errequests the nam e and address ofthe
     originalcreditor,the debtcollectorshallcease collection ofthe debt, orany disputed podion thereof,untilthe
     debtcollectorobtains verification ofthe debtorany copyofajudgment,orthe name andaddress ofthe original
     creditor,and a copy ofsuch verificationorjudgment,orname and address ofthe originalcreditor,is mailedto
     the consum erby the debtcollector.

     (c)Thefailure ofa consumerto dispute the validity ofa debtunderthis sectionmay notbe construed byany
     coud as an admission ofliabili
                                  ty by the consumer.


     j810. M ultiple debts I15 USC 1692h)
     Ifany consumerowes m ultiple debts and m akes any single paymentto any debtcollectorwith respectto such
     debts,such debtcollectorm ay notapply such paymentto any debtwhich is disputed by the consum erand,
     where appli
               cable,shallapply such paymentin accordance with the consumer's directions.


     j 811. Legalactions by debtcollectors (15 USC 16921)
     (a)Any debtcollectorwho brings any Iegalaction ona debtagainstanyconsblmershall-
    (1)inthecaseofanacti   ontoenforceaninterestinrealpropertysecuringtheconsumer'sobligation,bringsuch
    actiononly inajudicialdistrictorsimilarIegalentity inwhichsuch realpropedy is Iocated'
                                                                                         ,or

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      (2)inthe case ofanaction notdescribed inparagraph(1),bring such actiononly inthejudicialdi
                                                                                               strictorsimilar
      Iegalentity -

      (A)in whichsuch consumersignedthe contractsued upon;or
      (B)in whichsuch consumerresides atthecommencementofthe action.
      (b)NothinginthistitleshallbeconstruedtoauthorizethebringingofIegalactionsbydebtcollectors.

      j 812. Furnishing certain deceptive form s I15 USC 1692J
                                                             *1
      (a)Itis unlaM ulto design,compile,and furnish anyform knowingthatsuchform would be used to create the
     false beliefin a consum erthata person otherthan the creditorofsuch consum eris padicipating in the collection
     oforin an attem ptto collecta debtsuch consum erallegedly owes such creditor,when in factsuch person is not
     so participating.

      (b)Any personwho violates this section shallbe Iiable to the same extentand inthe same manneras adebt
     collectoris Iiable undersection 813 forfailure to com ply with a provision ofthis title.


      j 813. CivilIiability (15 USC 1692k)
      (a)Exceptasotherwiseprovidedbythissection,anydebtcollectorwhofailstocomplywithanyprovisionof
     this title with respectto any person is Iiable to such person in an am ountequalto the sum of-

      (1)any actualdamage sustained by such person as a resultofsuchfailure'
                                                                           ,
      (2)(A)inthe caseofany action byan individual,suchadditionaldamages as the coud may allow,butnot
     exceeding $1,000.
                     ,or

     (B)inthecaseofaclassaction,(i)suchamountforeachnamedplaintiffascould berecoveredunder
     subparagraph (A),and (ii)such amountas the courtmayallow foraIIotherclass members,withoutregard to a
      minimum indi
                 vidualrecovery,nottoexceedthe lesserof$500,000 or1percentum ofthe networthofthe debt
     collector'
              ,and

     (3)inthe caseofany successfulaction to enforcetheforegoing Iiability,the costs ofthe action,togetherwith a
     reasonable attorney's fee as determ ined by the coud.On a finding by the courtthatan action underthis section
     was broughtin bad faith and forthe purpose ofharassment,the coud m ay award to the defendantattorney's
     fees reasonable in relation to the work expended and costs.

      (b)Indetermining theamountofIiability inany action undersubsection (a),the coud shallconsider,among other
      relevantfactors -

      (1)in any individualaction undersubsecti
                                             on (a)(2)(A),thefrequency and persistence ofnoncompliance by the
     debtcollector,the nature ofsuch noncom pliance,and the extentto which such noncom pliance was intentional;
     or

     (2)inanyclassactionundersubsection(a)(2)(B),thefrequencyandpersistenceofnoncompliancebythedebt
     collector,the nature ofsuch noncom pliance,the resources ofthe debtcollector,the num berofpersons
     adversely affected,and the extentto which the debtcollector'
                                                                s noncompliance was intentional.

     (c)A debtcollectormay notbe held liable in any actionbroughtunderthistitle ifthe debtcollectorshows by a
      preponderance ofevidence thatthe violation was notintentionaland resulted from a bona fide error
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      notwithstanding the maintenance ofprocedures reasonably adapted to avoid any such error.

      (d)Anactionto enforce any Iiability created bythistitle may be broughtinany appropriate United States district
      courtwi
            thoutregard to the amountin controversy,orinany othercourtofcompetentjurisdiction,withinone year
      from the date on which the violation occurs.

      (e)NoprovisionofthissectionimposinganyIiabilityshallapplytoanyactdoneoromittedingoodfaithin
      conform ity with any advisory opinion ofthe Com m ission,notwithstanding thataftersuch actorom ission has
      occurred,suchopinion is amended,rescinded,ordetermined byjudici
                                                                    alorotherauthority to be invalidforany
      reason.



      j 814. Adm inistrative enforcem ent (15 USC 16921)
      (a)Compliance with this title shallbe enforced bythe Commission,excepttothe extend thatenforcementofthe
      requirements imposed underthis title is specifically committed to anotheragency undersubsection(b).For
     pum ose ofthe exercise by the Com m ission ofits functions and powers underthe FederalTrade Com m ission
     Act,a violation ofthis title shallbe deem ed an unfairordeceptive actorpractice in violation ofthatAct.AIIof
     the functions and powers ofthe Com mission underthe FederalTrade Com mission Actare available to the
     Com mission to enforce com pliance by any person with this ti
                                                                 tle,irrespective ofwhetherthatperson is engaged
      in commerce ormeets any otherjurisdictionaltests inthe FederalTradeCommissionAct,includingthe powerto
      enforce the provisions ofthis title in the sam e manneras i
                                                                fthe violation had been a violation ofa FederalTrade
      Comm ission trade regulation rule.

      (b)Compliance with any requirements imposed underthis title shallbe enforced under-
      (1)section 8ofthe FederalDeposi
                                    tInsurance Act,in thecase of-
      (A)nationalbanks,by the Comptrollerofthe Cumency;
      (B)memberbanks ofthe FederalReserve System (otherthan nati
                                                               onalbanks),by the FederalReserve Board;
      and

      (C)banksthe deposits oraccounts ofwhichare insured by the FederalDepositInsurance Corporation (other
      than members ofthe FederalReserve System),bythe BoardofDirectorsofthe FederalDeposi   tInsurance
      Corporation'
                 ,

      (2)section 5(d)ofthe Home Owners Loan Actof1933,section407 ofthe NationalHousing Act,and sections
      6(i)and 17 ofthe FederalHome Loan BankAct,bythe FederalHome Loan Bank Board (acting directing or
      throughthe FederalSavings and Loan Insurance Corporation),inthecase ofany insti
                                                                                    tution subjectto any of
      those provisions'
                      ,

      (3)the FederalCreditUnion Act,by the Administratorofthe NationalCreditUnionAdministrationwith respectto
      any Federalcreditunion;

      (4)subtitleIV ofTitle49,bytheInterstateCommerceCommissionwithrespecttoanycommoncarriersubject
      to such subtitle'
                      ,

     (5)the FederalAviationActof1958,by the SecretaryofTranspodati
                                                                 on wi
                                                                     th respectto any aircarrierorany
     foreign aircarriersubjectto thatAct;and
     (6)the Packers and Stockyards Act,1921 (exceptas provided insection406ofthatAct),by the Secretary of
     Agriculture with respectto any activities subjectto thatAct.
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      (c)Forthe purpose oftheexercise by any agency referred to in subsection (b)ofits powers underany Act
     referred to in thatsubsection,a violation ofany requirem entim posed underthis title shallbe deem ed to be a
     violation ofa requirem entim posed underthatAct. In addition to its powers underany provision ofIaw
      speci
          fically referred to insubsection (b),each ofthe agencies referredto in thatsubsectionmayexercise,for
     the purpose ofenforcing com pliance with any requirem entim posed underthis title any otherauthority conferred
     on itby Iaw,exceptas provided in subsection (d).
      (d)Neitherthe Commission norany otheragency referred to in subsection (b)may promulgatetrade regulation
      rules orotherregulations with respectto the collection ofdebts by debtcollectors as defined in this title.


     j 815. Reports to Congress by the Com m ission I15 USC
     1692m)
     (a)NotIaterthanone yearafterthe effective date ofthistitleand atone-yearintervals thereafter,the
     Com mission shallm ake repofts to the Congress concerning the adm inistration ofits functions underthis title,
     including such recom mendations as the Com m ission deem s necessary orappropriate. ln addition,each reportof
     the Com m ission shallinclude its assessm entofthe extentto which com pliance with this title is being achieved
     and a sum m ary ofthe enforcementactions taken by the Com m ission undersection 814 ofthis title.

     (b)Inthe exerciseofits functions underthis title,the Commission may obtain uponrequestthe viewsofany
     otherFederalagency which exercises enforcem entfunctions undersection 814 ofthis title.


     j 816. Relation to State Iaw s I15 USC 1692n)
     This title does notannul,alter,oraffect,orexemptany person subjectto the provisions ofthis ti
                                                                                                 tle from
     com plying with the Iaws ofany State with respectto debtcollection practices, exceptto the extentthatthose
     Iaws are inconsistentwith any provision ofthis title, and then only to the extentofthe inconsistency.For
     purposes ofthis section,a State Iaw is notinconsistentwith this title ifthe protection such Iaw affords any
     consumeris greaterthan the protection provided by this title.


     j 817. Exem ption forState regulation (15 USC 16920)
     The Com m ission shallby regulation exemptfrom the requirem ents ofthis title any class ofdebtcollection
     practices within any State ifthe Com m ission determ ines thatunderthe Iaw ofthatState thatclass ofdebt
     collectionpracticesissubjecttorequirements substantiallysimilartothoseimposedbythistitle,andthatthere
     is adequate provision forenforcement.


     j 818. Effective date I15 USC 1692 note)
     This title takes effectupon the expiration ofsix m onths afterthe date ofits enactm ent, butsection 809 shall
     apply only with respectto debts forwhich the initialattem ptto collectoccurs aftersuch effective date.

    Approved September20,1977


     EN D NO TES
     1.Soinoriginal;however,shouldread '604(a)(3).'

     LEG ISLA TIV E HISTO RY :
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      Public Law 95-109 EH.R.5294)
      HOUSE REPORT No.95-131 (Comm.on Banking,Finance,and UrbanAffairs).
      SENATE REPORT No.95-382 (Comm.on Banking,Housing,and UrbanAffairs).
      CONGRESSIONAL RECORD,Vol.123 (1977):
     Apr.4,considered and passed House.

     Aug.5,considered and passed Senate,am ended.

     Sept.8,House agreed to Senate am endm ent.

     W EEKLY COM PILATION O F PRESIDENTIAL DOCUMENTS,Vol.13,No.39:

     Sept.20,Presidentialstatement.


      AM EN DM ENTS :
     SECTION 621,SUBSECTIONS (b)(3),(b)(4)and (b)(5)were amended to transfercedain administrative
     enforcementresponsibilities,pursuantto Pub.L.95-473,j 3(b),Oct,17,1978.92 Stat.166,
                                                                                       'Pub.L.95-630,
     Title V.j 501,November10,1978,92 Stat.3680,  'Pub.L.98-443,j 9(h),Oct.4,1984,98 Stat.708.
     SECTION 803,SUBSECTION (6),defining ''debtcollector,'wasamended to repealthe attorney atIaw
     exemption atformerSection (6)(F)andto redesignate Section 803(6)(G)pursuantto Pub.L.99-361,July 9,
     1986,100 Stat.768.ForIegislative history,see H.R.237,HOUSE REPORT No.99-405 (Comm.on Banking,
     Financeand UrbanAffairs).CONGRESSIONALRECORD:Vol.131(1985):Dec.2,considered and passed
     House.Vol.132 (1986):June 26,considered and passed Senate.
     SECTION 807,SUBSECTION (11),wasamendedtoaffectwhendebtcollectors muststate(a)thattheyare
     attempting to collecta debtand (b)thatinformation obtained willbeused forthatpurpose,pursuantto Pub.L.
     104-208 j2305,110 Stat.3009 (Sept.30,1996).




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